Case 2:05-cr-14090-JEM Document 293 Entered on FLSD Docket 02/05/2007 Page 1 of 2

                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF FLORIDA
                          FORT PIERCE DIVISION
                CASE NO. 05-14090-CR-MARTINEZ/LYNCH


  UNITED STATES OF AMERICA

                 Plaintiff,

  vs.

  GARY ST.LAURENT,

               Defendant.
  ____________________________/


        ORDER ADOPTING MAGISTRATE'S REPORT AND RECOMMENDATION

        THIS CAUSE came before the Court upon Order of Reference
  from District Court to conduct a Change of Plea before a
  Magistrate Judge.
        THE MATTER was referred to Magistrate Judge Frank J. Lynch,

  on January 10,2007.      A Report and Recommendation was filed on
  January 19,2007, recommending that the Defendant’s plea of guilty
  be accepted.    The Defendant and the Government were afforded the
  opportunity to file objections to the Report and Recommendation,
  however none were filed. The Court has conducted a de novo review
  of the entire file. Accordingly, it is
        ORDERED AND ADJUDGED that

        The Report and Recommendation of United States Magistrate

  Judge Frank J. Lynch, is hereby Adopted and Approved in its

  entirety. The Defendant is adjudged guilty to Count One and Count

  Four of the Indictment in this case. Count One charges that the

  Defendant and co-defendants devised and intended to devise a

  scheme and artifice to defraud and to obtain money by means of

  false and fraudulent pretenses, representations and promises, in

  violation of Title 18, United States Code, Section 371.
Case 2:05-cr-14090-JEM Document 293 Entered on FLSD Docket 02/05/2007 Page 2 of 2
  Count Four charges that the Defendant and co-defendants Bogdan,

  Brant and James Hollis did knowingly cause to be mailed, interest

  payment $687.50, via the United States Postal Service, to

  investors “WG and EG” relating to investments of $75,000, knowing

  that the payments were not from earnings on the original

  investments but from new investors fund, all in violation of

  Title 18, United States Code, Sections 1341 and 2.           The

  government agrees to seek dismissal of Counts Six, Eight, and

  Nine of the Indictment, as to this Defendant, after sentencing.

        DONE AND ORDERED in Chambers at Miami, Florida, this 5

  day of February, 2007.

                                       __________________________
                                       JOSE E. MARTINEZ
                                       UNITED STATES DISTRICT JUDGE




  Copied: Hon. Magistrate Lynch
          All Counsel Of Record
          U.S.Probation
